Case 1: 05- -c\/- -01084- .]DT- STA Document 17 Filed 04/22/05 Paz§e 1 of 3 Page|D 3

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IN THE UNITED s'rATEs DISTRICT tjqu
FoR THE WESTERN DISTRICT 0F TENN_ESS§I?? ,¢

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' 539 03 /S'O[/
GERALD D. RILEY and wife, ' f/\,/u!q 03ch
TERESA M. RILEY CE;QO/V 1`

Plaintif`fs,

vs.
Case No.: 1:05-cv-01084-.IDT-sta
MERCK & CO., INC.; CAREMARK
RX, INC.; SARAH C. CAPOCACCIA;
STEPHANIE B. (BUCK) ISON;
COURTNEY SHAY (INGRAM)
McMAKIN; VINAY KRISHAN
SOOD; MELISSA CAR()L
(McALLISTER) BARNES; MICHAEL
RICHARDS; PATRICIA
BLASINGAME and SCOTT EVANS,

Defendants

 

 

ORDER ON MOTION FOR SPECIAL ADMISSION PRO HAC VICE
Joseph R. Alexander, Jr., has moved for special admission pro hac vice in this action on
behalf of Plaintiffs. Mr. Alexander is licensed to practice law in good standing before the U.S.
District Court of Texas, Southern District. For good cause shown, that motion is granted. It is
hereby ordered that Mr. Alexander be admitted pro hac vice as counsel for Plaintiffs and may
actively participate in any trial, pre-trial and post-trial proceedings before this court.

IT IS SO ORDERED.

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Signed this the 22 ’day of M 2005.

UNITWSTATES DISTRICT JUDGE

Thls document entered on the docket sh In ;:_c?)mpliance
with Ru!e 58 and,‘or_'le {a) FRCP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
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Honorable J ames Todd
US DISTRICT COURT

